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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                        UNITED STATES DISTRICT COURT
                                                                      for the

                                                             For the District of Oregon


                                                                 Portland Division



                                                                         )      Case No.
                                                                                                  ',:J~ 1-Z: - CV - (o54 - Af?
                                                                                                           )          (to be filled in by
     Climate Change Truth Inc. research@cctruth.org                      )
                              Plaintiff(s)                                      the Clerk 's Office)
                                                                         )
                                  -v-
                                                                         )
                                                                         )

Judge Charles Bailey (Melisa.L.Yang@ojd.state.or.us)                     )
  , Jim Shipley attorney Utshipley@qwestoffice.net)                      )
                             Defendant(s)                                )
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                                                                         )



                                    COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint

          A.         The Plaintiff(s)



                                Name                                 Professor David White
                                Street Address                       18965 NW 111ahe St
                                City and County                     Portland, washington

                                State and Zip Code                  OR 97229-2085

                                Telephone Number                    503-608-7611
                                                                    research@cctruth.org
                                E-mail Address




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            B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed .
                       Defendant No. 1
                                  Name                               Judge Charles Bailey
                                  Job or Title (if known)
                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                                                     Melisa.L. Yang@ojd .state.or.us
                                  E-mail Address (if known)


                       Defendant No. 2
                              Name                                   Jim Shipley
                              Job or Title (if known)                Attorney
                                  Street Address                      2233 NE 47 1h Ave
                                  City and County                      Portland, Multnomah
                                  State and Zip Code                  Or, 97213
                                  Telephone Number                    503-493-8383
                                  E-mail Address (if known)           jshipley@qwestoffice.net




II.        Basis for Jurisdiction




           What is the basis for federal court jurisdiction? (check all that apply)
                   ~ Federal question                                D Diversity of citizenship


           A.          If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
          501 C3 non-profit rules and regulation




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    ill.       Statement of Claim




    A.         Where did the events giving rise to your claim(s) occur?
                           Oregon




    B.         What date and approximate time did the events giving rise to your claim(s) occur?
                           March 2022




    C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                          Was anyone else involved? Who else saw what happened?)

                           David White is going through a divorce. His soon to be x-wife' s attorney is Jim Shipley. Jim Shipley
                           has accused him of using Climate Change Truth lnc. (cctruth.org) (A 501C3 Idaho registered nonprofit)
                           funds personally. However, Jim himself, in an email told David White to use cctruth.org funds to pay
                           for firewood replacement, one of the items of which his client is in contempt for. This is Exhibit rv.
                           Cctruth.org is a 5013C ldaho registered nonprofit corporation . Jim Shipley's client removed herself
                           from the Corporation in 2017. Exhibit I is a board meeting minutes from 2017 . Exhibit II is a board
                           meeting where the board voted not to give the KeyBank records to Jim Shipley. Exhibit III is images of
                           David Whites home front. Jim Shipley has accused David White of using $1200 of cctruth.org funds to
                           "improve" his property. No one in his neighborhood would say this is an improvement at this time.

                           Because of inflation cctruth.org has only $3000 in the account and receive only $93 in donations in
                           April 2022.If we receive no fundin g in May 2022 the month to month $1000 contract to keep
                           cctruth.org from being blacklisted will end in June 2022.

                           The 50 l 3C regulations restrict anyone from using nonprofit funds for personal use. Furthermore, no
                           one owns any asset in the nonprofit corporation. By regulation, upon dissolution of the nonprofit, all
                           assets must be transferred to another 5013C nonprofit. Not to Board members.



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IV.       Irreparable Injury




V.        Relief



          We request an injunction be granted to stop Judge Bailey from ordering the KeyBank records to be produced in
          the divorce case. We also request Jim Shipley be compelled to pay $2,000 to cctruth.org for causing extra
          attorney expense. An additional $2000 for 30 hours of Professor Whites time to respond shall be paid to Mr.
          White.




VI.       Certification and Closing

         Under Federal Rule of Civil Procedure I 1, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule I 1.

          A.         For Parties Without an Attorney

                    I agree to provide the Clerk' s Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.


                     Date of signing:




                     Signature of P i a ~




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                      Printed Name of Plaintiff




                                                                  Exhibit I

           Climate Change Truth

             Dave White

             President
             18965 NW lllahe
             Portland, Oregon 97229

                                    Board Meeting 9/25/2017

            This meeting was called to order by Dave white. Mr Wh ite announced the removal of Julie white from
             the corporation and the installment of two new officers with 33 1/3% each. Their names are:

                        1.    Randy Beers
                        2. Orlando Castanon
                        3. Any other needed business.

             Each board member including Dave White will have 33 1/3% voting rights and ownersh ip.



           ~
             Dave White
             9/25/2017



                                                                 Exhibit II

Climate Change Truth Inc.
Special Board Meeting 10/22/2021
Subject Dave's divorce
The question put before use is this: Should we let Dave's wife's attorney
get any financial data from our bank account. All the money is from
donations to a specific cause. Like $3 000 to publish the carbon dioxide
equilibrium manuscript. Also federal law prevents funds designated for

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one project to be put to another until the project is completed. As board
members we each own 33 1/3% of assets and debts. Currently there is
$20,000 in the account. We have an SBA COVID loan we owe $9,000.
We don't have to pay that back unless we get funding for the experiment.
I put in for $450,000 in NSF funding. I give it 20% possibility. Last year
the scientists who reviewed it lied.
The rate of rise for atmospheric carbon dioxide is less than 3 parts
per million (red line) (ppm)per year. This graph shows (blue line) we
can replace grass in medians and sides of roads with native trees and
shrubs. This location has 161k vehicles per day traffic. They will
consume a large portion of the carbon dioxide from vehicles. We
have two NIST certified carbon dioxide sensors calibrated within 1
ppm.

Present:
          Dave White
          Randy Beers

Vote to prevent Julies attorney from getting cctruth.org financial data
was 2 yes and 1 not present.




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                                                       CO 2 Experiment US 26E NSF 2051421
             40.0



             3S.O
                         Difference between treed area and non-treed area.
             30.0



             25.0
                                                    Over 4 million data points per year


        K200
        Q.




             15.0


             100


              s.o                                   Mauna Loa co, nse per yl!ar 1s ll!Ss than 3 ppm


             0.0
               Jur,-20     AIJl·20         Sep·20             NDY"20                Jan-21                 Fd>·21          Apr·21      Jur>-21    Jul·21
                                                                                    Date

                                                       -    delta IVl!file (ppm)    -        rate of CO2 n,e IJ)pm)




     Dave White Board member

                                                                                   Exhibit III




                                                                                                                                                           Page 7 of 9
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                                                                                                                                    •,

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Exhibit IV
Vince:


One again your client has seen fit to email me directly. I will delete the email.


I though Judge Bailey's comments regarding support would have been instructive to your client. Nothing within your
client's deposition testimony convinced me that your client does not have significant earning capacity. On the contrary,
your client's testimony clearly proved that he has the ability and energy to pursue multiple career paths at the same
time. It is plain to see that your client is voluntarily choosing not to earn income at this time. Considering your client' s
view on spousal support, I tend to believe that having my client make a proposal is going to be fruitless. Nevertheless, I
will be talking with my client about settlement and I hope to present an offer on Friday.


In regard to replacement wood, your client doubled down on the missing wood and is now claiming that there was 4
cords of wood in the back yard. Your client's non-profit spent $1,200 to landscape his front yard. It strikes me that he
should have had the company buy him some firewood instead.




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Vincent J. Bernabei, LLC
102 Cascade Square
8625 SW Cascade Avenue
Beaverton, OR 97008




David White
18965 NW lllahe
Portland , OR 97229




 May 04, 2022
In Reference To:      Dissolution of Marriage
Invoice #15848



             Professional Services

                                                                                                  Hrs/Rate        Amount

   4/8/2022 Telephone call with client re: opposition to motion to compel , son's hacking of
            computer.
                                                                                                     0.30
                                                                                                   330.00/hr      ~
              Prepare preliminary response to motion to compel.                                      0.50
                                                                                                   330 .00/hr    8
  4/11/2022 Prepare response to motion to compel , declaration of client.                            1.75
                                                                                                   330.00/hr    G
  4/12/2022 E-mail to client re: protective order.                                                   0.10
                                                                                                   330.00/hr    GJ
  4/13/2022 E-mail to client re: CCT bank records , order compelling discovery.                      0.10
                                                                                                   330.00/hr     8
  4/20/2022 Telephone calls with client and Bryan White re: wood splitter and proposed               0.40          132.00
            meeting ; Confer with client re : property division and spousal support.               330.00/hr

  4/28/2022 Review and transmit 2021 tax transcript.                                                 0.10
                                                                                                   330.00/hr      8
              Telephone call with client re: discovery issues, production of Key Bank records ,
             trial procedure.
                                                                                                     0.40
                                                                                                   330.00/hr      9
             For professional services rendered                                                      3.65       $1 ,204.50

             Previous balance                                                                                   $5,805.49
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David White                                                                                                Page         2


                                                                                                               Amount

              Accounts receivable transactions

  4/19/2022 Payment - thank you                                                                             ($3,000.00)

              Total payments and adjustments                                                                ($3 ,000 .00)


              Balance due                                                                                    $4,009.99




All charges are due upon receipt of statement. Unpaid balances over 30 days will accrue interest at 9% per annum . We
accept cash , check, and credit cards.
